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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                        *
                                                *
                                                *            Criminal No. – JFM-06-0309
           v.                                   *            Civil No. – JFM-14-488
                                                *
MELVIN GILBERT                                  *
                                             ******

                                       MEMORANDUM


       Melvin Gilbert has filed a motion under 28 U.S.C. §2255 to vacate, set aside, or correct

his sentence. The motion will be denied.

       None of the issues raised by Gilbert has merit.

       First, this court did not abuse its discretion or prejudice Gilbert by admonishing his

counsel in front of the jury. The trial atmosphere was tense and it was incumbent upon the court

to control the courtroom. In the court’s view, counsel for Gilbert had asked a question

incorporating a statement that the court had previously ruled was not admissible. An

admonishment was proper. In any event, Gilbert was not prejudiced in any way by the

admonishment. The court clearly and unequivocally instructed the jury that admonishments of

counsel are not unusual and should not be held against counsel or the defendant.

       Second, this court remains of the view that the testimony Gilbert alleges was hearsay was

not hearsay. In any event, the testimony was not inculpatory of Gilbert.

       Third, this court properly concluded that the expert testimony proffered by Gilbert’s

counsel was not only untimely but also would have been of little use to the jury.




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        Fourth, Gilbert’s counsel was not ineffective in failing to object to the testimony of

medical examiners who had reviewed the autopsy results and the reports of the examining

doctors.

        Fifth, the Fourth Circuit has previously ruled that an anonymous jury under the particular

circumstances of this case was appropriate. No useful purpose would have been served by

instructing the jury on the reason for jury anonymity.

        Sixth, this court ruled upon defendant’s motion to suppress the wiretap evidence by way

of a motion in limine.

        Seventh, while Gilbert makes the conclusory allegation that this court ruled upon the

validity of a wiretap that it had ordered and presided over, he has presented no evidence of that

fact.

        Finally, while Gilbert makes various conclusory allegations of “conflicts of interest”

under which his counsel suffered, he has presented no evidence of any such conflict of interest.

        A separate order denying Gilbert’s motion is being entered herewith.




Date: August 18, 2014                  _/s/_________________________
                                       J. Frederick Motz
                                       United States District Judge




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